Case 1:18-cV-01233-AT Document 25 Filed 02/27/18

W|GD[]H LLP

ATTCRNEYS AND COUNSE_ORS AT LAW

Jeanne M. Christensen
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February 26, 2018
VIA ECF AND EMAIL

The Honorable Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street, Court 15D
New York, New York 10007

  
   
    
 

  

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Re: Bonner v. Point72 Asset Management, L.P.l et aI. ,' Case No. 18-cv-1233 §AT !§I-IBP)

Dear Judge Torres:

We represent Plaintiff Lauren Bonner (“Plaintiff’) in the above-referenced matter and write to
request a brief extension of Plaintiff’s time to oppose Defendants Point72 Asset Management, L.P.,
Steven A. Cohen and Douglas D. Haynes’s (collectively “Defendants”) motion to compel

arbitration

See Dkt. No. 19.

Plaintiff respectfully requests that her deadline to oppose

Defendants’ motion to compel arbitration be extended from February 28, 2018 to March 21, 2018
due to Plaintiff”s counsel’s heavy case load and scheduling conflicts
request that her deadline to oppose Defendants’ motion to compel arbitration be extended, and
Defendants consent to the relief requested herein.

We thank Your Honor for the Court’s time and attention to this matter.

Respectfull submitted,

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Jeanne M. Christensen

cc: Counsel of Record (via ECF)

GRANTED.
SO ORDERED.

Dated: February 27, 2018

New York, New York

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This is Plaintiff’s first

United States District Judgc

